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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                          :
                                                  :
          Plaintiff,                              :
              v.                                  :     Criminal Action No. 21-CR-000287-TNM
                                                  :
                                                  :
HUNTER SEEFRIED,                                  :
                                                  :
          Defendant.


          DEFENDANT’S MOTION TO VACATE PLEA AGREEMENT HEARING

           COMES NOW HUNTER SEEFRIED, Defendant, by and through undersigned counsel,

Edson A. Bostic, Esquire, and files the instant Motion to Vacate Plea Agreement Hearing.

Specifically, Mr. Seefried is respectfully seeking to vacate the change of plea hearing as moot.

           In support thereof, it is averred:

     1.         On or about April 7, 2021, the grand jury returned an eight-count Indictment

charging Kevin and Hunter Seefried with violation of various crimes. Specifically, Hunter Seefried

is charged with obstruction of an official proceeding, in violation of 18 U.S.C. § 1512(c)(2), 2

(Count 0ne); entering and remaining in a restricted building or grounds, in violation of 18 U.S.C.

§ 1752(a)(1) (Count Two); disorderly and disruptive conduct in a restricted building or grounds,

in violation of 18 U.S.C. § 1752(a)(2) (Count Three); disorderly conduct in a capitol building, in

violation of 40 U.S.C. § 5104(e)(2)(D) (Count Four); parading, demonstrating, or picketing in a

capitol building, in violation of 40 U.S.C. § 5104(e)(2)(G) (Count Five); entering and remaining

in restricted building or grounds with physical violence against property, in violation of 18 U.S.C.

§ 1752(a)(4) (Count Six); destruction of government property, in violation of 18 U.S.C. § 1361



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(Count Seven); and an act of violence in the capitol grounds or buildings, in violation of 40 U.S.C.

§ 5104(e)(2)(F) (Count Eight).

       2.       On April 8, 2022, this Court held a video status conference. During that conference,

counsel informed the Court that the defendant and the government had reached a non-trial

agreement in principle and requested that the Court schedule a Plea Agreement Hearing at the end

of the month to allow the parties to consummate the agreement. The Court then scheduled a Plea

Agreement Hearing for April 27, 2022, at 2:00 p.m.

       3.       Unfortunately, the parties have not been able to consummate the plea agreement

since that time. Counsel, therefore, is respectfully requesting that the Court vacate the scheduled

Plea Agreement Hearing as moot.

        WHEREFORE, Defendant, Hunter Seefried, respectfully requests that this Honorable

Court enter an Order vacating the Plea Agreement Hearing scheduled for April 27, 2022, at 2:00

p.m.


Dated: April 22, 2022                                 Respectfully submitted,

                                                      /s/ Edson A. Bostic
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                                                     Hunter Seefried




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